UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW Y ORK

 OPEN SOCIETY JUSTICE INITIATIVE,
                 Plaintiff,
                 v.                    19 Civ. 00234 (PAE)
 CENTRAL INTELLIGENCE AGENCY,
 DEPARTMENT OF DEFENSE, NATIONAL
 SECURITY AGENCY and OFFICE OF THE
 DIRECTOR OF NATIONAL
 INTELLIGENCE,
                 Defendants.


 OPEN SOCIETY JUSTICE INITIATIVE,
                 Plaintiff,            19 Civ. 01329 (PAE)

                              v.
 DEPARTMENT OF JUSTICE and
 DEPARTMENT OF STATE,
                Defendants.



   REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF MOTION FOR
                  PARTIAL RECONSIDERATION

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       Defendants the Central Intelligence Agency (“CIA”) and Office of the Director of

National Intelligence (“ODNI,” and together with CIA, the “government” or the “agencies”)

respectfully submit this reply memorandum of law in further support of their motion for partial

reconsideration of the Court’s December 8, 2020 Opinion and Order (the “Order”), ECF No.

176, pursuant to Local Civil Rule 6.3 and Federal Rule of Civil Procedure 59(e) and 60(b).

                                PRELIMINARY STATEMENT

       In its opposition to the government’s motion (“Pl.’s Br.”), Plaintiff fails to rebut the

government’s showing that the Court misapplied the Second Circuit’s precise and strict test for

official acknowledgment and overlooked controlling authority requiring that public statements

must “remove all doubt” that an agency possesses responsive records. N.Y. Times v. CIA, 965

F.3d 109, 118 (2d Cir. 2020). Plaintiff effectively concedes that the public statements at issue do

not meet the specificity and matching requirements of the test, and instead relies on

impermissible inferences drawn from the overall context of the statements to argue that there has

been an official acknowledgment. Plaintiff also fails to rebut the government’s factual showing,

in supplemental classified declarations, that compliance with the Order will reveal undisclosed

classified and statutorily protected information about intelligence sources and methods and harm

national security. Unable to counter the government’s showing, Plaintiff argues that the Court

should simply disregard the supplemental declarations for technical reasons. Given the serious

national security concerns at stake, the Court should decline that request.

       For the reasons below and in the government’s opening brief, as well as in the

supplemental classified declarations, the government respectfully requests that the Court grant

partial reconsideration of the Order.
                                           ARGUMENT

I.      Plaintiff Fails to Show That the Public Statements on Which the Court Relied
        Constitute an Official Acknowledgment That the CIA and/or ODNI Possess a Tape
        of Khashoggi’s Killing

       As explained in the government’s opening brief, the statements cited by the Court do not

meet the Second Circuit’s strict and precise test for official acknowledgment because they do not

specifically match the exempt fact: whether or not CIA or ODNI possess a tape of the Khashoggi

killing. Rather than engage with the requirements of the official acknowledgment test, Plaintiff

attempts to distinguish the statements and sources presented in Wilson v. NSA, Osen LLC v.

United States Central Command, and N.Y. Times v. CIA. But application of the specificity and

matching requirements to the public statements at issue here demonstrates that both Plaintiff and

the Court have drawn inferences from the statements that fail to justify a finding of an official

acknowledgment.

       Unable to rebut the government’s showing that the statements relied upon in the Order

lack the specificity or matching required for an official acknowledgment, Plaintiff instead argues

that general statements about the role of the CIA and the existence of a tape, taken together,

amount to an “inescapable inference” that the CIA and/or ODNI must possess such a tape. Pl.’s

Br. at 7-10. But Plaintiff’s implicit concession that it must rely on an inferential bridge to justify

an official acknowledgment cannot be reconciled with the Second Circuit’s holding that the

official public statements, “even packaged together,” must “remove all doubt” about the

existence of a particular record to find an official acknowledgment. See N.Y. Times v. CIA, 965

F.3d at 118.

       For example, Plaintiff equates “the role of the CIA” and its involvement in reviewing

evidence relating to Khashoggi’s murder with the CIA’s possession of a tape of Khashoggi’s


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murder. See Pl.’s Br. at 7. But there is no necessary inference from the fact of CIA’s assessment

of what happened to Khashoggi that the agency must possess any particular piece of evidence,

including a tape of the killing. An agency’s acknowledgement of a general interest or

involvement in the subject matter of a FOIA request does not constitute official acknowledgment

that the agency possesses specific records relating to that subject matter, as the Second Circuit

held in Wilner v. NSA, 592 F.3d 60 (2d Cir. 2009). There, the Court upheld the National Security

Agency’s Glomar response to a FOIA request for surveillance records concerning the plaintiff

even though the surveillance program itself had been officially acknowledged. See id. at 70

(official acknowledgment that a surveillance program existed did not waive classification of

“those aspects of the program that have not been the subject of such disclosures”). Likewise

here, acknowledgment of CIA’s general role does not acknowledge its possession of a tape or

any other specific record.

       Similarly, in arguing that the President disclosed the existence of a tape, see Pl.’s Br. at 6,

Plaintiff ignores that the President’s statement did not contain any reference to the CIA or ODNI.

As the Second Circuit recently reaffirmed, this is a key consideration in evaluating whether a

public statement by the President serves to officially acknowledge that a particular agency

possesses records responsive to a FOIA request. See N.Y. Times v. CIA, 965 F.3d at 118 (holding

that President’s statements about alleged covert CIA program did not officially acknowledge the

existence of CIA records in part because the President did not mention the CIA). Most recently,

the D.C. Circuit—addressing the same statement by the President that was at issue in N.Y. Times

v. CIA—emphasized the need for sufficient specificity in finding an official acknowledgment.

See Leopold v. CIA, __ F.3d __, 2021 WL 446152 (D.C. Cir. Feb. 9, 2021). In Leopold, the D.C.

Circuit held that the President’s statement was not an official acknowledgment because “[e]ven

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if the President’s tweet revealed some program, it did not reveal the existence of [CIA] records

about that alleged program.” Id. at *4. Concluding that the tweet at issue left “too much doubt,”

the D.C. Circuit reiterated that “[t]o establish official acknowledgment our precedents require

certainty, not assumptions.” Id. at *5 (“The tweet never mentions the [CIA] at all, let alone its

intelligence interest in, or capabilities to gather intelligence about, payments to Syrian rebels.”).

       Plaintiff misplaces reliance on cases rejecting Glomar responses where the agencies had

acknowledged an interest in the subject matter of the FOIA request. See Pl.’s Br. at 9 (citing

ACLU v. DOD, 322 F. Supp. 3d 464, 478 (S.D.N.Y. 2018) (rejecting CIA’s Glomar response to

request for CIA records about Yemen raid because CIA had acknowledged interest in

intelligence relating to Yemen and White House Press Secretary had officially acknowledged

that CIA director was present during White House meeting at which raid was authorized), and

ACLU v. CIA, 710 F.3d 422, 431 (D.C. Cir. 2013) (rejecting CIA’s Glomar response to request

for CIA records regarding drone strikes where CIA had acknowledged an intelligence interest in

such strikes and the government had withdrawn Glomar response and sought remand to assert no

number, no list response instead). “In the Glomar context, the ‘specific information’ at issue is

not the contents of a particular record, but rather ‘the existence vel non’ of any records

responsive to the FOIA request.” ACLU v. CIA, 710 F.3d at 427; see also ACLU v. DOD, 322 F.

Supp. 3d at 481 n.11 (“In the Glomar context, the operative question is not whether the records

requested ultimately match the official acknowledgment. Instead, the question is whether the

official acknowledgment ‘matches’ the facts (i.e., the existence or not of records) that would be

revealed were the agency to respond to the FOIA request with anything other than a Glomar

response (such as with a no number, no list response).”).




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       In contrast here, the CIA and ODNI did not assert Glomar responses to the FOIA request,

but rather acknowledged that they have responsive records and withheld the number and details

about those records, including whether or not they possess a tape of the killing. Nothing in this

Court’s decision in ACLU v. DOD or the D.C. Circuit’s decision in ACLU v. CIA suggests that

general statements about the CIA or ODNI’s intelligence interest in a particular matter can serve

as an official acknowledgement that either agency possesses a specific record. Thus, while public

statements about a topic might in some cases lead to an “inescapable inference” that an “agency

possesses at least some documents related to” that topic, thereby undermining a Glomar

response, ACLU v. DOD, 322 F. Supp. 3d at 475, public statements related to an intelligence

interest generally do not undermine the ability to assert a no number, no list response or to

decline to acknowledge whether or not they possess a particular record.

II.     Plaintiff Fails to Rebut the Agencies’ Factual Showing That Compliance With the
        Order Would Reveal Undisclosed Information Concerning Intelligence Sources
        and Methods and Harm National Security

       The government’s supplemental classified declarations demonstrate that compliance with

the Court’s Order to submit a Vaughn index regarding the purported tape would reveal

undisclosed information relating to intelligence sources and methods that, if disclosed, could

harm national security. These supplemental declarations are entitled to substantial deference

from the Court. See ACLU v. DoD, 901 F.3d 125, 134 (2d Cir. 2018); ACLU v. DOJ, 681 F.3d

61, 69-70 (2d Cir. 2012); Wilner, 592 F.3d at 76; see also CIA v. Sims, 471 U.S. 159, 179 (1985).

Plaintiff’s arguments that no harm to national security exists, or that the Court should disregard

any such harm, are unavailing.

       Plaintiff’s procedural argument that reconsideration is unwarranted because the

government had the opportunity to submit the information in the supplemental classified


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declarations earlier, see Pl.’s Br. at 10-11, is unpersuasive. Where “[i]ssues of national security

are involved, . . . technical rules of judicial convenience should not prevent the Government from

making full and proper arguments to support its position.” ACLU v. DOD, 2017 WL 11563198,

at *1 (S.D.N.Y. Nov. 13, 2017) (granting government’s request, in its motion for

reconsideration, to make supplemental classified submission in further support of exemption 1

and 3 withholdings). Indeed, the Court has already indicated that it intends to consider the

supplemental declarations in ruling on the government’s motion. See ECF No. 182. Moreover,

because the agencies asserted a no number, no list response, which was the focus of the parties’

cross-motions for summary judgment, the agencies’ previous submissions did not detail the

particular harms to national security posed by disclosure of whether or not the CIA or ODNI

possess any particular piece of alleged information. Thus, contrary to Plaintiff’s assertion, the

submission of supplemental declarations does not amount to “another bite at the apple,” see Pl.’s

Br. at 11, particularly where the government has argued—and continues to argue—that there has

not been an official acknowledgment that the CIA and/or ODNI possesses a tape of Khashoggi’s

killing.

           Similarly misplaced is Plaintiff’s bald assertion that the supplemental classified

declarations, which Plaintiff has not reviewed, “can add nothing” to the Court’s assessment of

harm to national security. See Pl.’s Br. at 2. This argument is belied by the declarations

themselves, which logically and plausibly explain the agencies’ expert judgment that disclosure

of whether or not the CIA or ODNI possesses a tape of the killing could reasonably be expected

to harm national security. See Wilner, 592 F.3d at 76 (“[r]ecognizing the relative competencies

of the executive and judiciary, we believe that it is bad law and bad policy to second-guess the

predictive judgments made by the government’s intelligence agencies” about likely harm to

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national security from release of information). It also relies on the circular premise that the

government has officially acknowledged the CIA and/or ODNI’s possession of a tape of the

Khashoggi killing. But as discussed above and in the government’s opening brief, there has been

no such acknowledgment.

       Lastly, Plaintiff’s assertion that a “significant amount of detail . . . has already been

publicly released about the tape by other sources,” such as Turkey and the United Nations, Pl.’s

Br. at 11-12, has no bearing on whether the national security of the United States would be

harmed if the agencies are required to confirm or deny whether either agency has such a tape.

Whether a tape of the killing exists is a separate and distinct question from whether the CIA or

ODNI possesses a tape. And it is well settled that statements by foreign officials or international

agencies cannot constitute an official acknowledgment by the United States, let alone a specific

agency of the United States. See Wilson v. CIA, 586 F.3d 171, 186 (2d Cir. 2009) (only persons

“authorized to speak” for the agency can make an official acknowledgment; even “widespread

public discussion” of a classified matter is insufficient).

                                          CONCLUSION

       For the foregoing reasons, and the reasons stated in the agencies’ opening brief as well as

the supplemental classified declarations, the agencies’ motion for partial reconsideration should

be granted.




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Dated: February 16, 2021
       New York, New York


                                  Respectfully submitted,

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